
PER CURIAM
*883Appellant appeals a judgment committing her to the Oregon Health Authority for a period not to exceed 180 days pursuant to ORS 426.130. She argues that the trial court committed plain error when it failed to fully advise her that the possible results of the proceeding included voluntary treatment or conditional release. See ORS 426.100 (1)(c) ; ORS 426.130(1), (2). The state concedes that, under State v. M. M. , 288 Or. App. 111, 405 P.3d 192 (2017), and State v. M. S. R. , 288 Or. App. 156, 403 P.3d 809 (2017), the trial court committed plain error that warrants reversal. We agree with the state, accept the concession, and, for the reasons stated in those cases, exercise our discretion to correct the error.1
Reversed.

Appellant also contends that the evidence was legally insufficient to prove that she was a danger to herself because of a mental disorder. Because we reverse the judgment based on the failure to fully advise appellant of her rights, we need not address that question.

